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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:14CR155

      vs.
                                                                ORDER
DOROTEO MANUEL PONCE,

                    Defendant.


      This matter is before the court on the government's motion to quash a subpoena,

Filing No. 311. The court conducted a hearing on the motion on November 17, 2015.

      I.     Background

      Defendant Doroteo Manuel Ponce (“Ponce”) was charged with conspiracy to

distribute methamphetamine and marijuana, distribution of methamphetamine, and

money laundering. Filing No. 83, Third Superseding indictment. Pursuant to 21 U.S.C.

§ 851, the government filed a Notice to File Information to Establish a Prior Conviction

with respect to defendant Ponce. Filing No. 252. Defendant Ponce entered a plea of

guilty to three counts of the Third Superseding Indictment pursuant to a cooperation

agreement. Filing No. 279 Petition (sealed), Filing No. 280 Plea Agreement.

      On October 28, 2015, a subpoena to “Testify at a Hearing or Trial in a Criminal

Case” was issued to the First Assistant United States Attorney for the District of

Nebraska commanding his appearance and the production of documents. Filing No.

295, Subpoena. The subpoena requests “all material relating to the Information under

Section 851 that was filed against the Defendant . . . including, but not limited to all

material utilized by the US Attorney’s office in making their determination to ultimately
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file the Information under Section 851 against the Defendant . . . ." Id. at 1. The

government moves to quash the subpoena, asserting the defendant's request violates

the deliberate process privilege, work-product doctrine, and attorney-client privileges. In

response, defendant Ponce essentially asserts a selective prosecution claim, arguing

that the government abused its discretion in charging him under 21 U.S.C. § 851.

        In support of its position, the defendant relies on a Memorandum from Attorney

General Eric Holder to the United States Attorneys and Assistant Attorney General for

the Criminal Division entitled "Department Policy on Charging Mandatory Minimum

Sentences and Recidivist Enhancements in Certain Drug Cases (August 12, 2013)” and

“Guidance Regarding § 851 Enhancements in Plea Negotiations (September 24,

2014).” Filing No. 315-1. He argues the government's filing of the motion does not

comport with the Attorney General's directive.

        The notice to file an information under § 851 with respect to Ponce is premised

on a 2004 drug distribution conviction for which Ponce was sentenced to a term of

imprisonment of thirteen months. Filing No. 252 at 1. The record shows that notices of

information to establish prior convictions were filed against two other defendants in this

case. See Filing No. 287 (defendant Daniel Muratella), Filing No. 112 (defendant Jodi

Muratella). The information with respect to Jodi Muratella was based on a 1995

conviction that resulted in sentences of 92 months. Filing No. 112, Information at 1;

Filing No. 259, Presentence Investigation Report at 17-18 (sealed). The information

filed with respect to Daniel Muratella was based on a 1995 conviction for conspiracy to

distribute methamphetamine for which he was sentenced to 110 months. Filing No. 287

at 1.

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       II.    Law

       Prosecutors are given broad discretion in deciding against whom to focus limited

prosecutorial resources, and a strong “presumption of regularity supports . . . [those]

decisions.”   United States v. Armstrong, 517 U.S. 456, 464 (1996) (citations and

quotations omitted). They must exercise their charging discretion within constitutional

constraints, however, including those “imposed by the equal protection component of

the Due Process Clause of the Fifth Amendment.” See id. Under that clause, “the

decision whether to prosecute may not be based on an unjustifiable standard such as

race, religion, or other arbitrary classification.”   Id. (citation and quotation omitted).

Defendants bear a “demanding” burden when seeking to establish that they are being

selectively prosecuted in an unconstitutional manner. Id. “In order to dispel the

presumption that a prosecutor has not violated equal protection, a criminal defendant

must present clear evidence to the contrary.” Id. at 465 (emphasis added) (citations and

quotations omitted). However, a presumption exists that a prosecutor has not violated

equal protection principles, and a defendant challenging a conviction on this ground

must satisfy a “demanding” burden to establish that he or she is being selectively

prosecuted. Id.; see United States v. Smith, 231 F.3d 800, 807 (11th Cir. 2000). In

order to overcome that presumption, a defendant must present clear evidence of a

selective prosecution. Smith, 231 F.3d at 807.

       "In order to make a prima facie case of selective prosecution, [a defendant] must

show (1) people similarly situated to him were not prosecuted; and (2) the decision to

prosecute was motivated by a discriminatory purpose.” United States v. Hirsch, 360

F.3d 860, 864 (8th Cir. 2004); see United States v. Peterson, 652 F.3d 979, 981 (8th

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Cir. 2011) "The 'evidentiary burden is a heavy one.'"        Peterson, 652 F.3d at 981

(quoting United States v. Leathers, 354 F.3d 955, 961 (8th Cir. 2004)). “Defendants are

similarly situated when their circumstances present no distinguishable legitimate

prosecutorial factors that might justify making different prosecutorial decisions with

respect to them.” United States v. Venable, 666 F.3d 893, 900-01 (4th Cir. 2012).

       Similarly, “[a] prosecution designed solely to punish a defendant for exercising a

valid legal right violates due process.” Leathers, 354 F.3d at 961. “It is the defendant's

burden to show that the prosecution was brought in order to punish the defendant for

the exercise of a legal right.” Id. Again, a "defendant's evidentiary burden” in proving

an improper motive for prosecution is “a heavy one.” Id.

       "To obtain a hearing, [the defendant] 'must present some evidence that tends to

show the existence of both elements' of a selective prosecution claim." Peterson, 652

F.3d at 982 (quoting United States v. Perry, 152 F.3d 900, 903 (8th Cir. 1998)). The

justifications for a rigorous standard for the elements of a selective prosecution claim

"require a correspondingly rigorous standard for discovery in aid of such claim.”

Armstrong, 517 U.S. at 468; see also Venable, 666 F.3d at 900 (stating that “[b]ecause

discovery imposes high costs on the government, the standard for obtaining discovery

in support of a selective prosecution claim is only slightly lower than for a dismissal of

the indictment; rather than presenting clear evidence, the defendant must produce

some evidence making a credible showing of both discriminatory effect and

discriminatory intent” (inside quotations omitted).




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       III.   Discussion

       To succeed on a selective prosecution claim, the defendant has the burden of

proving both that he was treated differently than people similarly situated to and that the

prosecution decisions were made with a discriminatory purpose or intent. To obtain

discovery or an evidentiary hearing, the defendant must meet the slightly lower standard

of producing ‘some evidence’ that makes a ‘credible showing’ of both discriminatory

effect and discriminatory intent.

       The defendant has not met this burden. Defense counsel candidly admits that he

does not ascribe any improper motive or allege any misconduct by the government; he

contends only that the government abused its discretion in light of the Holder memo.

The record shows that two other defendants were treated similarly to the defendant

insofar as the filing of § 851 informations. Both of those co-defendants had convictions

that were even older than defendant Ponce's, although they received longer sentences

than Ponce. That distinction is not significant. On the present record, the defendant has

presented no evidence to satisfy either required showing. The court finds defendant

Ponce has failed to demonstrate that he is entitled to any discovery on the subject.

        Moreover, defendant Ponce's reliance on the Holder memos in support of his

allegations is unavailing. Although Attorney General Holder's memoranda elucidated

certain disparities in the application of mandatory minimum sentences and sentencing

enhancements and provided further guidance for prosecutors when determining

whether to apply an § 851 enhancement, "the memorandum does not, however,

indicate that intelligible principles were completely lacking or that the delegation of

sentencing authority was up until that point unconstitutional." United States v. Burford,

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No. 3:06-CR-102, 2015 WL 2095605, at *4 (D. Alaska May 5, 2015).              The Holder

memos are simply policy statements and do not provide a legal basis on which a

defendant can challenge a statutory mandatory minimum sentence. See id.; cf. United

States v. Canori, 737 F.3d 181, 183–84 (2d Cir. 2013) (holding that Department of

Justice memorandum that provided guidance to United States Attorneys regarding

prosecution of medical use of marijuana was exercise of prosecutorial discretion and did

not purport to give defendants enforceable rights). The Aug. 12, 2013 Memorandum

"clearly states that '[t]he policy set forth herein is not intended to create or confer any

rights, privileges, or benefits in any matter, case, or proceeding.'"    United States v.

Reed, 576 F. App'x 60, 62 (2d Cir. 2014). "The Attorney General's exercise of that

discretion through policy statements and guidance does not legally bind prosecutors or,

more importantly, the courts." Id. In light of this finding, the court need not address the

deliberative privilege, work-product and attorney-client privilege issues. The court finds

the government's motion to quash should be granted.

       IT IS ORDERED:

       1.     The government's Motion (Filing No. 311) to quash the subpoena (Filing

No. 295) is granted.

       Dated this 18th day of November, 2015

                                                 BY THE COURT:
                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge




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